Case 1:17-cv-00639-CKK Document 31-2 Filed 08/09/17 Page 1 of 7




                    EXHIBIT B
Case 1:17-cv-00639-CKK Document 31-2 Filed 08/09/17 Page 2 of 7
Case 1:17-cv-00639-CKK Document 31-2 Filed 08/09/17 Page 3 of 7
Case 1:17-cv-00639-CKK Document 31-2 Filed 08/09/17 Page 4 of 7
Case 1:17-cv-00639-CKK Document 31-2 Filed 08/09/17 Page 5 of 7
Case 1:17-cv-00639-CKK Document 31-2 Filed 08/09/17 Page 6 of 7
Case 1:17-cv-00639-CKK Document 31-2 Filed 08/09/17 Page 7 of 7
